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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


OI EUROPEAN GROUP B.V.,

            Plaintiff,

      v.                                              C.A. No. 19-mc-290-LPS

 BOLIVARIAN REPUBLIC OF VENEZUELA,

            Defendant.


PHILLIPS PETROLEUM COMPANY VENEZUELA
LIMITED and CONOCOPHILLIPS PETROZUATA B.V.,

            Plaintiffs,

      v.                                              C.A. No. 19-mc-342-LPS

 PETRÓLEOS DE VENEZUELA, S.A.,
 CORPOGUANIPA, S.A. and PDVSA PETRÓLEO, S.A.,

            Defendants.


NORTHROP GRUMMAN SHIP SYSTEMS, INC.,

            Plaintiff,

      v.                                              C.A. No. 20-mc-257-LPS

 THE MINISTRY OF DEFENSE OF THE REPUBLIC OF
 VENEZUELA,

            Defendant.


ACL1 INVESTMENTS LTD., ACL2 INVESTMENTS
LTD., and LDO (CAYMAN) XVIII LTD.,

            Plaintiffs,
                                                      C.A. No. 21-mc-46-LPS
      v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

            Defendant.
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                          JOINT MARCH 9, 2022 STATUS REPORT

        In connection with this Court’s March 2, 2022 opinion (the “Opinion”), (1:19-mc-00290,

D.I. 109; 1:19-mc-00342, D.I. 42; 1:20-mc-00257, D.I. 58; and 1:21-mc-00046, D.I. 33), and

pursuant to the Court’s March 2, 2022 order (the “Order”), (1:19-mc-00290, D.I. 110; 1:19-mc-

00342, D.I. 43; 1:20-mc-00257, D.I. 59; and 1:21-mc-00046, D.I. 34), directing the parties to file

a joint status report by March 9, 2022, Plaintiffs (i) OI European Group B.V. (“OIEG”), (ii) Phillips

Petroleum Company Venezuela Limited and ConocoPhillips Petrozuata B.V. (together,

“ConocoPhillips”), (iii) Northrop Grumman Ship Systems, Inc., f/k/a Ingalls Shipbuilding, Inc.,

and now known as Huntington Ingalls Incorporated (“Huntington Ingalls”), and (iv) ACL1

Investments Ltd., ACL2 Investments Ltd., and LDO (Cayman) XVIII Ltd. (collectively, “ACL”),

and Defendants/Intervenors (as applicable) (i) Petróleos de Venezuela, S.A. (“PDVSA”); (ii)

Corpoguanipa, S.A. (“Corpoguanipa”); (iii) PDVSA Petróleo, S.A. (“PDVSA Petróleo”); and (iv)

Bolivarian Republic of Venezuela (the “Republic” or “Venezuela”) submit this joint status report

addressing the Court’s three questions.

I.    Whether the Court should certify interlocutory appeals on the OFAC issues in these
      cases.

        A. OIEG’s Position

        OIEG takes no position as to whether the Court should certify interlocutory appeals on the

OFAC issues in these cases, provided that, should that occur, no stay of the OIEG proceedings

addressed in this status report take place.

        B. ConocoPhillips’ Position

     ConocoPhillips opposes the certification of interlocutory appeals on the OFAC issues in

these cases. The OFAC issues resolved by this Court’s March 2, 2022 Opinion and Order, and

identified by the PDVSA parties for certification, fail to meet the criteria for certification of an

interlocutory appeal under 28 U.S.C. § 1292(b). Further, there is not sufficient overlap between
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the OFAC issues decided by the Court’s March 2, 2022 Order and the OFAC issues in Crystallex

International Corp. v. Bolivarian Republic of Venezuela, such that any appeal ought to be heard

together.

       C. Huntington Ingalls’ Position

       Yes, the Court should certify interlocutory appeals on the OFAC issues in these cases—

but only after granting Huntington Ingalls’ motion for a conditional writ of attachment. 1:20-mc-

00257, D.I. 25; D.I. 54-1 (Huntington Ingalls’ revised proposed order). The Court’s goal should

be to aid the judgment creditors in obtaining the best possible position for joining the eventual sale

of PDVH shares in light of the OFAC sanctions regime.             It is therefore prudent to allow

interlocutory appeals now, so as to reduce the likelihood of adverse holdings on appeal later. That

said, the Court’s eventual ruling on the alter ego question will prove just as controversial as the

recent findings regarding the OFAC sanctions regime and will likely trigger its own wave of

appeals. This was, of course, what happened in the wake of the 2018 alter ego determination in

Crystallex. See Crystallex Int'l Corp. v. Bolivarian Republic of Venez., 932 F.3d 126 (3d Cir.

2019). As discussed more thoroughly below, the proposal described in the Court’s opinion to

delay a ruling on the alter ego question is prejudicial to Huntington Ingalls and inconsistent with

other provisions in the Opinion. The Court should therefore decide the alter ego issue now, and

grant Huntington Ingalls’ the requested conditional writ of attachments. An added benefit to this

route would be to allow one round of consolidated appeals rather than two, increasing judicial

efficiency and minimizing costs for the parties involved.

       D. ACL’s Position

       In ACL’s view, certifying interlocutory appeals on the OFAC issues would be unwar-

ranted. In any appeal, there could be a question of this Court’s jurisdiction. It appears that this

Court has jurisdiction over PDVSA in ACL’s case only “so long as PDVSA is Venezuela’s alter

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ego under Bancec.” See Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 932 F.3d 126,

139 (3d Cir. 2019). This Court has yet to make the alter-ego determination. Moreover, once the

Court does make that determination (or its opposite), the disappointed party likely would seek to

appeal. The likelihood of that eventual appeal arguably renders an interlocutory appeal at this time

inefficient. See 28 U.S.C. § 1292(b) (certification requires that “an immediate appeal from the

order may materially advance the ultimate termination of the litigation”).

          E. PDVSA’s Position 1

          PDVSA respectfully requests that the Court certify interlocutory appeals on the following

issues:

    1. Whether the Executive Orders and regulations issued by the U.S. Department of
       Treasury’s Office of Foreign Assets Control (“OFAC”) prohibit, in the absence of a
       specific license:

             a. the issuance and/or service of a writ of attachment against blocked property
                conditioned on OFAC’s future grant of a specific license or the lifting of the
                OFAC sanctions; and/or

             b. a judgment creditor of PDVSA or the Republic from registering its judgment in
                the U.S. District Court for the District of Delaware pursuant to 28 U.S.C. § 1963.

    2. Whether an attachment motion is ripe for adjudication for purposes of Article III of the
       U.S. Constitution where the property sought to be attached is blocked pursuant to OFAC
       sanctions and the attachment cannot be granted unless and until, at some future date, the
       moving party obtains a specific OFAC license or the sanctions are lifted, neither of which
       may ever occur.
          Under 28 U.S.C. § 1292(b), a district court may certify an order for interlocutory appeal

where (1) the “order involves a controlling question of law,” (2) about which “there is substantial

ground for difference of opinion,” and (3) “immediate appeal from the order may materially

advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b); see also Katz v. Carte


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 PDVSA submits this joint status report in accordance with the Court’s Order of March 2, 2022. PDVSA does so
while expressly preserving all of its rights and defenses, including its right to sovereign immunity under the FSIA.
Nothing in this joint status report should be construed as a waiver of PDVSA’s sovereign immunity.
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Blanche Corp., 496 F.2d 747, 754-55 (3d Cir. 1974). All of these criteria are satisfied as to the

OFAC issues and the ripeness issue set forth above.

       With respect to the OFAC issues, as the Court observed in its March 2 Opinion, “there is

substantial ground for difference of opinion on how the sanctions apply to these cases” and “[i]f

a reviewing court were to adopt an interpretation of the OFAC sanctions that differs from the

Court’s interpretation, that controlling legal development might effectively halt all proceedings

before this Court in Crystallex and/or these other judgment enforcement actions.” Opinion at 26.

This is true with respect to the OFAC issues that PDVSA requests that the Court certify. If the

Third Circuit were to disagree with this Court’s interpretation of either of these issues, “that

controlling legal development” would “effectively halt all proceedings before this Court” by

requiring a specific OFAC license, or the lifting of the relevant OFAC sanctions, before further

proceedings could occur.

       The same is true with respect to the ripeness issue that PDVSA requests the Court to

certify for appeal. Whether plaintiffs’ attachment motions are ripe for adjudication presents a

“controlling question of law” because if the Third Circuit agrees with PDVSA that plaintiffs’

attachment motions are not ripe, then the Court’s March 2 decision would need to be reversed,

the Court would lack Article III jurisdiction, and these proceedings would need to be dismissed.

See Katz, 496 F.2d at 755.

       There is also a “substantial ground for difference of opinion” as to the ripeness of the

attachment motions. Plaintiffs’ requests for the “conditional” issuance and service of writs of

attachment against property blocked by OFAC sanctions required the Court to resolve “novel

questions of law” and “to choose between two sets of strong, well-supported, and persuasive

arguments.” Crystallex v. Petróleos de Venezuela, S.A., et al., C.A. No. 15-1082-LPS,

Memorandum Order, D.I. 55 (D. Del. Dec. 27, 2016) (granting PDVH’s request for certification

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of interlocutory appeals). PDVSA respectfully submits that the Court’s Opinion and Order run

afoul of the prohibition against the issuance of advisory opinions and conflict with existing case

law, including but not limited to Third Circuit law governing the standards for ripeness – see,

e.g., Sherwin-Williams Co. v. Cty. Of Del., 968 F.3d 264 (3d Cir. 2020), In re Lazy Days’ RV

Ctr. Inc., 724 F.3d 418 (3d Cir. 2013), Suburban Trails, Inc. v. N.J. Transit Corp., 800 F.2d 361,

369 (3d Cir. 1986) – and Republic of Panama v. Lexdale, 804 F. Supp. 1521 (S.D. Fla. 1992),

which dismissed an action on ripeness grounds because virtually identical OFAC regulations

prohibited the unlicensed attachment of the property at issue.

        Moreover, an immediate appeal of the ripeness issue “may materially advance” the

litigation because if the Third Circuit agrees with PDVSA’s position on ripeness and reverses

this Court’s March 2 decision, these enforcement actions would be “terminated on remand,”

Crystallex, C.A. No. 15-1082-LPS, D.I. 55 at 4, with no need for any further proceedings. See

Ford Motor Credit Co. v. S.E. Barnhart & Sons, Inc., 664 F.2d 377, 380 (3d Cir. 1981).

        Finally, in addition to the other factors supporting certification of the OFAC and ripeness

issues, “exceptional circumstances” also warrant certification. Crystallex, C.A. No. 15-1082-

LPS, D.I. 55 at 5. The issues that PDVSA seeks to certify for appeal involve important and

difficult questions about the OFAC sanctions regime, which implicate significant U.S. foreign

policy considerations. These threshold issues permeate multiple cases pending in this Court 2

(and that may be brought by other creditors in the future) and if resolved by the Third Circuit

now will conserve judicial resources in the future.

        Accordingly, PDVSA respectfully requests that the above-listed issues be certified for

interlocutory appeal.


2
 This includes not only the four above-referenced cases, and Crystallex, but also Red Tree Investments, LLC v.
Petróleos de Venezuela, S.A., Misc. No. 22-mc-68-LPS & 22-mc-69-LPS and Rusoro Mining Ltd. v. Bolivarian
Republic of Venezuela, Misc. No. 21-mc-481-LPS.
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       F. Corpoguanipa’s and PDVSA Petróleo’s Positions

       Corpoguanipa and PDVSA Petróleo concur with the position expressed by PDVSA.

       G. The Republic’s Position

       The Republic concurs with the position expressed by PDVSA.

II.   Whether the Court should resolve any of the pending motions in any of these cases (on
      the merits, as moot, without prejudice to renew, or for or on any other grounds),
      including whether the Court should deny OI European Group B.V.’s, Huntington
      Ingalls’, and ACL’s attachment motions without prejudice to renew.

       A. OIEG’s Position

       Summary. For the reasons outlined below, OIEG requests that this Court enter findings of

fact based on the April 30, 2021 hearing, and grant OIEG’s pending motion for the conditional

issuance of a writ of attachment fieri facias. (This can be done on the basis of specific record

materials cited below.) In the alternative OIEG requests that the Court grant it leave to pursue an

interlocutory appeal related to the “pertinent time” issue.

       Background. On November 4, 2019, OIEG moved for a writ of attachment fieri facias

against the shares of PDV Holding, Inc. (“PDVH”), which are owned by PDVSA as an alter ego

(at any and all relevant times) of the Republic, on the grounds that the Court’s decision in

Crystallex International Corp. v. Bolivarian Republic of Venezuela (“Crystallex I”), 333 F. Supp.

3d 380 (D. Del. 2018), aff’d, 932 F.3d 126 (3d Cir. 2019), collaterally estopped the Republic and

PDVSA to deny that PDVSA is the alter ego of the Republic. 1:19-mc-00290, D.I. 2. At the time

of the motion, no OFAC sanctions would have impeded a grant of the writ, and perfection of a

judgment lien by service of the writ.

       On December 12, 2019, this Court denied the motion, ruling that collateral estoppel did not

apply because the “pertinent date” for the alter ego determination was different from that used in

the Crystallex attachment proceeding. Crystallex Int’l Corp. v. PDV Holding Inc., 2019 WL

6785504, at *8 (D. Del. Dec. 12, 2019). On December 23, 2019, OIEG moved to reconsider, citing
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substantial authorities that it believes stand for the proposition that alter ego status does not evolve

depending on the time writs are sought or granted. 1:19-mc-00290, D.I. 27. Unpersuaded, the

Court denied the motion, 1:19-mc-00290, D.I. 43, ruling (in a separate action) that the pertinent

time is “the period between the filing of the motion seeking a writ of attachment and the subsequent

issuance and service of that writ.” Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela,

2021 WL 129803, at *6 (D. Del. Jan. 14, 2021). This ruling establishes the law of this and related

cases as to the “pertinent time.”

       During the pertinent time, as defined by the Court, OIEG proved that PDVSA remained

(as it remains today) the alter ego of Republic. In February 2021, it filed its amended motion

seeking a writ of attachment fieri facias against the shares of PDVH. 1:19-mc-00290, D.I. 48. Its

brief in support, 1:19-mc-00290, D.I. 49, contains an offer of proof (“Offer of Proof”) showing

that, PDVSA continued to be the alter ego of the Venezuelan state at all potentially relevant times.

Id. at 4-18. The Offer of Proof was overwhelming, supported by sworn declarations, 1:19-mc-

00290, D.I. 50, 51, 78, 86, and 90, and was proved at an evidentiary hearing on April 30, 2021.

OIEG’s evidence was uncontested, as the Republic and PDVSA relied entirely on a legal theory:

that U.S. recognition of a government-in-exile precludes the Court from considering post-

recognition facts showing the continued domination by the state over PDVSA’s actual operations,

officers, employees or foreign assets and that such recognition represented a legally-significant

change in circumstances. This legal theory was unavailing. States, not governments, are liable

for creditor judgments, and alter ego doctrine penetrates form to reach substance. See 1:19-mc-

00290, D.I. 77 at 5-10. The persistent U.S. sanctions on the Republic and PDVSA themselves

showed then (and show today), that PDVSA remains an arm of, and indistinguishable from OIEG’s

judgment debtor – the Republic.



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       Given the OFAC sanctions in place, OIEG requested that the Court enter an order granting

its motion, with the issuance and service of the writ conditioned on OFAC approval or lifting of

the relevant sanctions.

       On March 2, 2022, this Court entered the Opinion and Order: (1) holding that this Court

does have authority to issue OIEG’s requested relief, but (2) declining to enter an order granting

such relief or to make findings of fact and conclusions of law with respect to the alter ego issues

because “a significant additional amount of time will likely pass before proceedings will continue

in the instant actions in this Court.” Opinion at 27.

       Requested Relief. The Court should promptly enter findings of fact with respect to OIEG’s

amended motion, and grant to OIEG conditional issuance of a writ of attachment fieri facias. As

shown below, all of the necessary record exists to permit this to occur promptly.

         (i) Findings of Fact.

       Regardless of the finality of relief given or withheld, the Court may and should find facts,

specifically, the facts in OIEG’s Offer of Proof, see 1:19-mc-00290, D.I. 49 at 4-18, which were

proved and undisputed at the April 2021 hearing. As this Court has previously expressed, utility

and efficiency are served by entering findings of fact even if those findings are to (potentially) be

used for future relief. See Crystallex, 2021 WL 129803, at *8 (“any creditor may be able to find

support (perhaps strong support) in the record created in the Crystallex Asset Proceeding and the

finding reached (and affirmed) there.”). Even if the Court declines to grant a conditional writ,

findings would assist appellate review now, and avoid imposing upon another judge of this Court

review of the same material later. The litigants have a compelling equitable interest in such fact-

finding, in light of the considerable expense undertaken in the preparation and presentation of

evidence at the April 30, 2021 hearing.

         (ii)   Grant of the Conditional Order.

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          In addition to finding facts, the Court should hold that, as a matter of law, the factual record

warrants a finding that PDVSA is, for purposes of OIEG’s attachment motion, the alter ego of the

Republic. The Court’s concern – that circumstances might materially change between the issuance

of its order and relief from OFAC sanctions – is best addressed by permitting the Republic and/or

PDVSA, at the time OFAC sanctions are lifted or a license is granted, to show cause (under Fed.

R. Civ. P. 60(b) or otherwise) why a Court should, by reason of changed circumstances, grant

relief.

          First, all of OIEG’s requested relief is ripe for review today. See Opinion at 27 n.20.

          Second, relief is warranted by the undisputed facts, for the reasons stated.

          Third, relief would be fully consistent with this Court’s prior practice of making alter ego

findings even when the issuance and service of a writ was expressly conditioned on further briefing

and court order(s). See Crystallex I, 333 F.Supp.3d at 425-26 (“By its decision today, the Court

is holding that it will, after conferring further with the parties about additional details, direct the

Clerk of the Court to issue to Crystallex a writ, which Crystallex will then have the opportunity to

serve and attach to PDVSA’s property in Delaware . . . . The Clerk of Court is directed not to issue

the writ of attachment until after the Court issues an additional Order following its review of the

forthcoming status report.”).

          Fourth, it would be inequitable to permit one creditor (ConocoPhillips) to obtain a

conditional order of attachment while delaying relief to another (OIEG), when OIEG has already

made a full case of (at minimum) legal parity with ConocoPhillips – and if it is correct concerning

the “pertinent time” issue, equitable priority. 3 See Opinion at 21 (“From the perspective of judicial


3
 OIEG sought its attachment before ConocoPhillips (and all other judgment creditors other than Crystallex)
and, under its view of “pertinent time,” would have perfected before ConocoPhillips. Any interlocutory
appeal that is pursued from this Court’s recent decisions construing OFAC regulations will have no impact
on the question of PDVSA’s alter ego status. While OFAC sanctions may impact the timing of the ultimate

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administration, it makes sense that ConocoPhillips and the other judgment creditors will all have

access to the same form of relief at the same point in their judgment enforcement efforts.”). As

this Court has previously made clear, at a minimum the question is whether or not the alter ego

status exists “at this time” – not tomorrow. See Crystallex, 2021 WL 129803, at *6 n.16. After a

full day evidentiary hearing and a significant record in front of it, judicial economy would not be

served by now hitting the reset button.

        In the event that the Court does not grant the conditional order, OIEG requests that the

Court nevertheless make findings of fact (for the reasons stated above) and authorize OIEG under

28 U.S.C. § 1292 to seek interlocutory relief from this Court’s prior orders (and any order entered

now) so that OIEG may challenge this Court’s ruling as to the “pertinent time” for determination

of PDVSA’s alter ego status, and, if successful, advise the Court of Appeals of a record that will

permit effective appellate relief. As previously expressed to this Court, and preserved in OIEG’s

filings to date, OIEG’s position is that the “pertinent time” has already occurred.

        B. ConocoPhillips’ Position

    There are no pending motions to be decided in ConocoPhillips’ case. ConocoPhillips takes

no position on whether the Court should rule, decline to rule, or dismiss without prejudice to

renew the pending motions of OIEG, Huntington Ingalls and ACL.

        C. Huntington Ingalls’ Position

        Yes, the Court should grant Huntington Ingalls’ pending amended motion for a conditional

writ of attachment. See 1:20-mc-00257, D.I. 25; D.I. 54-1 (Huntington Ingalls’ revised proposed




issuance and/or service of the requested writ, it would be inequitable to force OIEG to the sideline while
other judgment creditors gain a priority advantage due to hypothetical changes in circumstances that may
occur between now and when the interlocutory appeals run their course. Judicial economy would be better
served by entering a conditional order of attachment today, subject to unwind should circumstances merit.
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order). In doing so, the Court should determine, as a matter of law, that PDVSA is the alter ego

of Venezuela, subjecting its shares of PDVH to attachment.

       The Court should not postpone the question of PDVSA’s alter ego status. Postponing the

alter ego question is prejudicial to Huntington Ingalls and will result in treatment different to the

treatment of ConocoPhillips without legal basis. If the Court dismisses the pending amended

motion for a conditional writ of attachment, without prejudice, then at some point in the future,

the Court’s Opinion will be upheld and, eventually, OFAC will issue licenses to ConocoPhillips

and Huntington Ingalls. However, at that point, while ConocoPhillips will be free to join in an

auction of PDVH, Huntington Ingalls will be forced to relitigate the alter ego question and then

wait for the Third Circuit to review that decision. By the end of that process, the assets of PDVH

will have dissipated and any victory it receives will be pyrrhic.

       But isn’t such a result warranted, given the fact that the ConocoPhillips judgment is against

PDVSA while the Huntington Ingalls decision is against Venezuela? No, it is not. On April 30,

2021, Huntington Ingalls proved that Venezuela and PDVSA are alter egos. See 1:20-mc-00257,

D.I. 47 (Official Transcript of Oral Argument Video Hearing held on April 30, 2021). As a result,

judgments against PDVSA and Venezuela are legally equivalent. See EM Ltd. v. Banco Cent. de

la República Arg., 800 F.3d 78, 91 n.56 (2d Cir. 2015) (“[O]nce an instrumentality of a sovereign

state has been deemed to be the alter ego of that state . . ., the instrumentality and the state are to

be treated as one and the same for all purposes.”). And this Court has held that it can issue

conditional writs, notwithstanding the absence of a license from OFAC. Logically, if the Court

can grant a conditional writ, and does so in favor of ConocoPhillips as a PDVSA judgment creditor,

then it can also do the same in favor of Venezuelan judgment creditors, like Huntington Ingalls,

that have proven that Venezuela and PDVSA are alter egos.



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         In its decision in Crystallex, this Court held that the pertinent time for determining whether

two parties are alter egos for the purpose of the enforcement of a judgment is “the period between

the filing of the motion seeking a writ of attachment and the subsequent issuance and service of

that writ.” Opinion at 27 (quoting Crystallex Int’l Corp. v. Bolivarian Republic of Venez., No. 17-

mc-151-LPS, 2021 U.S. Dist. LEXIS 7793, at *18 (D. Del. Jan. 14, 2021)). Venezuela, of course,

previously argued in Crystallex that the only pertinent date is the date the writ is issued, but this

Court did not accept that argument. See Crystallex Int'l Corp. v. PDV Holding Inc., No. 15-cv-

1082-LPS, 2019 U.S. Dist. LEXIS 214167, at *23 n.19 (D. Del. Dec. 12, 2019) (“Venezuela

‘points to no authority for [its] proposition’ that the only pertinent date is the date the writ is

issued”) (emphasis added).

         The Opinion confirms that a conditional writ can be issued and served now. True, the

conditional writ can only become unconditional after an OFAC license issues. However, that is a

political matter which has nothing to do with the legal merits of any of the judgment currently

pending against Venezuela and PDVSA. It is possible, of course, that the political and social

structure of Venezuela will change in some way between now and whatever time the OFAC license

issues—just as it changed between the date that this Court found Venezuela and PDVSA to be

alter egos in the Crystallex case and today. But that change will be immaterial since the conditional

writ will already have been issued and served. In any event, the Federal Rules of Civil Procedure

already prescribe a remedy for Venezuela and PDVSA in those circumstances. See Fed. R. Civ.

P. 60.

         Following the path outlined above is legally correct and will ensure equity amongst

equivalent creditors. It will also prevent Venezuela from continuing to use its corporate shell game

—continuously moving assets between Venezuela and PDVSA whenever convenient—to the

detriment of judgment creditors in Delaware. At the same time, ruling in favor of Huntington

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Ingalls on its application for a conditional writ based on the alter ego relationship between

Venezuela and PDVSA will also avoid an unnecessary waste of judicial resources. On April 30,

2021, Huntington Ingalls and OIEG litigated the issue of PDVSA’s alter ego status. See 1:20-mc-

00257, D.I. 47 (Official Transcript of Oral Argument Video Hearing held on April 30, 2021). The

parties spent considerable resources preparing for, and attending, the all-day hearing. The parties

spent additional resources in two rounds of post-hearing briefing. See 1:20-mc-00257, D.I. 51–

54. These efforts were made with one goal: to establish PDVSA as Venezuela’s alter ego, allowing

the Court to grant a conditional writ of attachment preventing execution of a final writ only until

one of two events occur: (i) the parties’ receipt of an OFAC special license or (ii) the removal or

modification of the sanctions regime. See 1:20-mc-00257, D.I. 55-1 (Huntington Ingalls’ revised

proposed order). If the Court proceeds as it suggested in the Opinion, the resources spent in

relation to the April 30, 2021 hearing will have been for nothing. A new hearing will be necessary

on some date in the future when OFAC grants Huntington Ingalls a license, see Opinion at 27, but

while Huntington Ingalls scrambles to litigate the issue at that time, it will watch, from a distance,

as Crystallex and ConocoPhillips proceed alone against the PDVH shares. See Crystallex Int'l

Corp. v. PDV Holding Inc., No. 1:17-mc-00151-LPS, D.I. 443 (D. Del. Mar. 2, 2022) (concluding

that the Court can continue to proceed with a sales process despite the OFAC sections).

       The result of the Court’s proposed route is inequitable and would be contrary to the very

relief that the Court recognized in the Opinion that it has the authority to give. In its ripeness

analysis, the Court correctly recognized that “the judgment creditors are faced with a dilemma: if

they wait for OFAC to provide additional guidance on how far the attachment process can or

should go under the current sanctions, OFAC may decide not to provide any guidance at all,

leaving the judgment creditors in legal limbo.” Opinion at 9. The Court also understood that

“[t]he judgment creditors are asking this Court to provide relief now in the form of orders that will

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leave them better prepared to perfect interests in the PDVH Shares at the appropriate time.” Id. at

10. By failing to consider the alter ego question, however, the Court leaves Huntington Ingalls in

the exact same position it was in prior to filing for a motion for a writ of attachment. Huntington

Ingalls remains in a costly “legal limbo.”

       Again, while Huntington Ingalls would suffer great prejudice in any further delay on the

alter ego question, no such prejudice would fall upon either PDVSA or Venezuela if the Court

were to grant Huntington Ingalls’ motion now. Events have not materially reduced Venezuela’s

control and use of PDVSA and its assets since the April 2021 hearing. If events subsequently do

change in a material way after the Court grants Huntington a conditional writ, the burden should

shift to Venezuela or PDVSA to show cause as to why the Court’s judgment should be set aside.

See Fed. R. Civ. P. 60.

       Like OIEG, Huntington Ingalls requests that, if the Court does not grant the conditional

order, the Court nevertheless make findings of fact and authorize Huntington Ingalls under 28

U.S.C. § 1292 to pursue interlocutory relief from this Court’s prior orders (and any order entered

now) so that Huntington Ingalls may challenge this Court’s ruling as to the “pertinent time” for

determination of PDVSA’s alter ego status. Huntington Ingalls believes that the pertinent time of

the alter ego analysis has passed.

       D. ACL’s Position

       Regardless whether an interlocutory appeal is certified, in ACL’s view, ACL’s attachment

motion should not be dismissed without prejudice at this time. Instead, it would be appropriate to

resolve ACL’s motion on its merits by deciding whether PDVSA is Venezuela’s alter ego.

Deciding this question could facilitate the sale process in Crystallex by making more clear which

judgment creditors of Venezuela (as opposed to PDVSA) might be able to participate. It should

not matter, in ACL’s view, that the “pertinent time” (as determined by this Court) for the alter ego

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determination runs through when the writ is issued and served. Service of the writ remains barred

by OFAC sanctions. And resolution of key questions in this litigation should not await the final

lifting of those sanctions. See Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, Misc.

No. 17-151, 2022 WL 611586, at *19 (D. Del. Mar. 2, 2022) (“The litigation before the Court

simply cannot be permitted to continue forever.”).

         E. PDVSA’s Position

         PDVSA agrees with the Court’s inclination “to deny OIEG’s, Huntington Ingalls’, and

ACL’s pending attachment motions, PDVSA’s pending motions to dismiss, and any other

pending motions without prejudice, allowing any motions to be refiled once the Court has the

benefit of any decisions issued as a result of the interlocutory appeals (if they occur).” Opinion

at 27.

         As set forth above, if an interlocutory appeal is certified and PDVSA prevails on the

OFAC and/or ripeness issues, the result will be that proceedings in this Court cannot go forward

– either because they are not ripe or because they are prohibited by OFAC sanctions – unless and

until plaintiffs obtain a specific license from OFAC or the relevant OFAC sanctions are lifted.

And, if an interlocutory appeal is certified and PDVSA does not prevail on appeal, the Court and

the parties will have the benefit of definitive guidance from the Third Circuit as to how far these

actions may proceed in the absence of an OFAC license.

         Moreover, as the Court recognized in its Opinion, because the Court has ruled that the

“pertinent time” for purposes of the alter ego analysis is “the period between the filing of the

motion seeking a writ of attachment and the subsequent issuance and service of that writ,”

Opinion at 27, and there is no dispute that (at a minimum) service of the writ cannot happen until

plaintiffs obtain a specific OFAC license, there is simply no reason or basis to decide the alter

ego issue now. Thus, although PDVSA believes it is clear that plaintiffs utterly failed as a matter

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 of law and fact to establish that PDVSA is the alter ego of the Republic, it would be a waste of

 judicial resources to adjudicate the alter ego issue prior to the resolution of the interlocutory

 appeals, when resolution of the appeals may obviate the need for, or preclude resolution of, the

 alter ego issue and where the alter ego issue will need to be revisited at a later date in any event.

        Accordingly, PDVSA requests that the Court deny OIEG’s, Huntington Ingalls’ and

 ACL’s attachment motions, and PDVSA’s cross-motions to dismiss, without prejudice to refile

 after the interlocutory appeals are finally resolved. Alternatively, PDVSA requests that the

 pending motions be held in abeyance until final resolution of the interlocutory appeals.

        F. Corpoguanipa’s and PDVSA Petróleo’s Positions

        Corpoguanipa and PDVSA Petróleo concur with the position expressed by PDVSA.

        G. The Republic’s Position

        The Republic concurs with the position expressed by PDVSA.

III.   Any other issues that the parties wish to raise in light of the Court’s Opinion in these
       cases and its concurrent Opinion in Crystallex International Corp. v. Bolivarian Republic
       of Venezuela, Misc. No. 17-151 D.I. 443 (D. Del. Mar. 2, 2022).

        A. OIEG’s Position

        In light of the Court’s decision to continue moving the Crystallex attachment proceeding

 and potential sale forward, OIEG respectfully requests that this Court act swiftly to permit OIEG

 the opportunity to advance its own attachment proceeding to make the eventual sale more efficient

 and value-maximizing for all parties involved.

        B. ConocoPhillips’ Position

        ConocoPhillips has no further issues to raise at this time.

        C. Huntington Ingalls’ Position

        Huntington Ingalls has no further issues to raise at this time.

        D. ACL’s Position

        ACL has no further issues to raise at this time.
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       E. PDVSA’s Position

       PDVSA has no further issues to raise at this time.

       F. Corpoguanipa’s and PDVSA Petróleo’s Positions

       Corpoguanipa and PDVSA Petróleo have no further issues to raise at this time.

       G. The Republic’s Position

       The Republic has no further issues to raise at this time.

                                         *       *      *

       The parties are available at the Court’s convenience should Your Honor have any

questions.




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Dated: March 9, 2022

 HEYMAN ENERIO                                  MORGAN, LEWIS & BOCKIUS LLP
 GATTUSO & HIRZEL LLP

 By: /s/ Samuel T. Hirzel                       By: /s/ Jody C. Barillare
 Samuel T. Hirzel (#4415)                       Jody C. Barillare (#5107)
 300 Delaware Avenue, Suite 200                 1201 N.Market St., Suite 2201
 Wilmington, DE 19801                           Wilmington, DE 19801
 Telephone: 302-472-7300                        Telephone: 302-574-3000
 SHirzel@hegh.law                               Facsimile: 302-574-3001
                                                jody.barillare@morganlewis.com

 CURTIS, MALLET-PREVOST, COLT &                     - and -
 MOSLE LLP
 Joseph D. Pizzurro                             Sabin Willett (pro hac vice)
 Julia B. Mosse                                 Jonathan Albano (pro hac vice)
 Kevin A. Meehan                                Christopher L. Carter (pro hac vice)
 Juan O. Perla                                  One Federal Street
 101 Park Avenue                                Boston MA 02110
 New York, NY 10178                             Telephone: 617-341-7700
 Telephone: 212-696-6000                        Facsimile: 617-341-7701
 jpizzurro@curtis.com                           sabin.willett@morganlewis.com
 jmosse@curtis.com                              jonathan.albano@morganlewis.com
 kmeehan@curtis.com                             christopher.carter@morganlewis.com
 jperla@curtis.com

 Attorneys for Petróleos de Venezuela, S.A.,    SEQUOR LAW, P.A.
 Corpoguanipa, S.A., and PDVSA Petróleo,        Edward H. Davis, Jr. (pro hac vice)
 S.A.                                           Fernando J. Menendez (pro hac vice)
                                                111 Brickell Ave., Suite 1250
                                                Miami, FL 33131
                                                Telephone: 305-372-8282
                                                Facsimile: 305-372-8202
                                                edavis@sequorlaw.com
                                                fmenendez@sequorlaw.com

                                                Attorneys for OI European Group B.V.

 ABRAMS & BAYLISS LLP                           ROSS ARONSTAM & MORITZ LLP

 By: /s/ A. Thompson Bayliss                    By: /s/ Garrett B. Moritz
 A. Thompson Bayliss (#4379)                    Garrett B. Moritz (#5646)
 Stephen C. Childs (#6711)                      100 S. West Street, Suite 400
 20 Montchanin Road, Suite 200                  Wilmington, DE 19801
 Wilmington, DE 19807                           Telephone: 302-576-1600
 Telephone: 302-778-1000                        gmoritz@ramllp.com
 bayliss@abramsbayliss.com
                                               19
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 childs@abramsbayliss.com
 SULLIVAN & CROMWELL LLP                      KOBRE & KIM LLP
 Sergio J. Galvis                             Michael S. Kim
 Joseph E. Neuhaus (pro hac vice)             Marcus J. Green
 James L. Bromley (pro hac vice)              Josef M. Klazen
 125 Broad Street                             800 Third Avenue
 New York, New York 10004                     New York, New York 10022
 Telephone: 212-558-4000                      Telephone: 212-488-1200
 Facsimile: 212-558-3588                      michael.kim@kobrekim.com
 galvis@sullcrom.com                          marcus.green@kobrekim.com
 neuhausj@sullcrom.com                        jef.klazen@kobrekim.com
 bromleyj@sullcrom.com
                                              Attorneys for Phillips Petroleum Company
 - and -                                      Venezuela Limited and ConocoPhillips
                                              Petrozuata B.V.
 Angela N. Ellis
 1700 New York Avenue, N.W. Suite 700
 Washington, D.C. 20006-5215
 Telephone: 202-956-7500
 Facsimile: 202-293-6330
 ellisan@sullcrom.com

 Attorneys for the Bolivarian Republic of
 Venezuela

 PACHULSKI STANG ZIEHL & JONES,               ASHBY & GEDDES
 LLP
                                              By: /s/ Marie M. Degnan
 By: /s/ Laura Davis Jones                    Marie M. Degnan (#5602)
 Laura Davis Jones (#2436)                    500 Delaware Ave., 8th Floor
 Peter J. Keane (#5503)                       P.O. Box 1150
 919 North Market Street, Suite 1600          Wilmington, DE 19899
 P.O. Box 8705                                Telephone: 302-654-1888
 Wilmington, DE 19899-8705                    mdegnan@ashbygeddes.com
 Telephone: 302-652-4100
 ljones@pszjlaw.com
 pkeane@pszjlaw.com                           RILEY WARNOCK & JACOBSON, PLC
                                              Joshua S. Bolian
                                              Keane A. Barger
 ALSTON & BIRD LLP                            1906 West End Avenue
 Alexander A. Yanos (pro hac vice)            Nashville, Tennessee 37203
 Rajat Rana (pro hac vice)                    Telephone: 615-320-3700
 Robert Poole (pro hac vice)                  jbolian@rwjplc.com
 90 Park Avenue, 15th Floor                   kbarger@rwjplc.com
 New York, NY 10016-1387
 Telephone: 212-210-9400                      Attorneys for ACL1 Investments Ltd., ACL2
 alex.yanos@alston.com                        Investments Ltd. and LDO (Cayman) XVIII
 rajat.rana@alston.com                        Ltd.
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 robert.poole@alston.com
 Attorneys for Northrop Grumman Ship
 Systems, Inc., f/k/a Ingalls Shipbuilding, Inc.
 and now known as Huntington Ingalls
 Incorporated




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